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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

GLENN BROOKS                        §
                                    §
      Plaintiff,                    §
                                    §
v.                                  §     CIVIL ACTION NO. 4:18-CV-02386
                                    §
BAYVIEW LOAN SERVICING, LLC §
AND FEDERAL HOME LOAN               §
MORTGAGE CORPORATION                §
                                    §
      Defendants.                   §
______________________________________________________________________________

          UNOPPOSED STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

       Pursuant to the Federal Rules of Civil Procedure, Plaintiff Glenn Brooks hereby stipulates

and agrees to the following:

       1.      Plaintiff filed his Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 239th Judicial Court of Brazoria County, Texas on June 27, 2019.

       2.      Defendant filed its Notice of Removal on July 11, 2018.

       3.      The parties have settled the dispute amongst themselves.

       4.      Accordingly, Plaintiff requests that the Court dismiss this lawsuit with prejudice

against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff hereto requests that the Court enter

the attached Order dismissing the above-entitled and numbered cause with prejudice with costs of

court being assessed against the party incurring same.

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                                            Respectfully submitted,

                                                    VILT AND ASSOCIATES, P.C.

                                            By:   /s/ Robert C. Vilt
                                                  ROBERT C. VILT
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                                            ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

      I hereby certify that a conference was held on the merits of this motion on July 12,
2019 with Crystal Gee Gibson and she is not opposed to the relief sought herein.

                                            /s/ Robert C. Vilt
                                            ROBERT C. VILT


                                CERTIFICATE OF SERVICE
     I hereby certify that on July 12, 2019 the foregoing was filed with the Court via the
CM/ECF system and that the Clerk of the Court will forward a copy of same to the following
CM/ECF users:

       Crystal Gee Gibson
       Barrett Daffin Frappier Turner & Engel, LLP
       4004 Belt Line Road, Suite 100
       Addison, TX 75001

       Travis H. Gray
       Chris S. Ferguson
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       Jack O’Boyle & Associates
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